                                                  Case 3:14-cv-03352-CRB Document 122 Filed 10/22/15 Page 1 of 1



                                           1
                                           2
                                           3
                                           4
                                           5
                                           6
                                           7
                                                                           IN THE UNITED STATES DISTRICT COURT
                                           8
                                           9                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                          10
For the Northern District of California




                                          11   DANIEL LEVIN, ET AL.,                              No. 3:14-cv-03352-CRB
    United States District Court




                                          12                 Plaintiffs,                          ORDER RE COYNE V. CITY AND
                                                                                                  COUNTY OF SAN FRANCISCO
                                          13     v.
                                          14   CITY AND COUNTY OF SAN FRANCISCO,
                                          15                 Defendant.
                                                                                        /
                                          16
                                          17          The City and County of San Francisco is hereby ORDERED to respond to Levin's

                                          18   Letter of October 12, 2015 (dkt. 121) regarding whether Coyne v. City and County of San

                                          19   Francisco obviates the need for a Rule 60 indicative ruling in this case. The City is further

                                          20   ORDERED to respond by Wednesday, October 28, 2015.

                                          21          IT IS SO ORDERED.

                                          22
                                          23   Dated: October 22, 2015
                                                                                                    CHARLES R. BREYER
                                          24                                                        UNITED STATES DISTRICT JUDGE

                                          25
                                          26
                                          27
                                          28
